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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-296 JAM
12                               Plaintiff,             STIPULATION AND ORDER TO MODIFY
                                                        BRIEFING SCHEDULE FOR DEFENDANT’S
13                          v.                          MOTION TO WITHDRAW GUILTY PLEA
14   CHRISTIAN PARADA-RENTERIA, ET AL.,                 COURT: Hon. John A. Mendez
15                               Defendants.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Christian

19 Parada-Renteria, by and through counsel Philip Cozens, hereby stipulate as follows:

20          1.      On April 11, 2017, the Court conducted a hearing regarding defendant Christian Parada-

21 Renteria’s Motion to Withdraw Guilty Plea. ECF No. 544. At that hearing, the Court granted Parada-

22 Renteria leave to file a supplemental brief on or before April 25, 2017, and ordered the United States to

23 file a response by May 2, 2017. The Court did not set a hearing date. ECF No. 544. Parada-Renteria

24 filed his supplemental brief on April 26, 2017. ECF No. 547.

25          2.     The parties request that the Court modify the current briefing schedule to permit the

26 United States to file its response to Parada-Renteria’s supplemental brief on or before May 9, 2017.

27          IT IS SO STIPULATED.

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      STIPULATION AND [PROPOSED] ORDER TO MODIFY        1
      BRIEFING SCHEDULE
              Case 2:11-cr-00296-JAM Document 550 Filed 05/02/17 Page 2 of 2


 1 Dated: May 1, 2017                                         PHILLIP A. TALBERT
                                                              United States Attorney
 2

 3                                                            /s/ BRIAN A. FOGERTY
                                                              BRIAN A. FOGERTY
 4                                                            Assistant United States Attorney
 5

 6 Dated: May 1, 2017                                         /s/ PHILIP COZENS
                                                              PHILIP COZENS
 7
                                                              Counsel for Defendant
 8                                                            CHRISTIAN PARADA-
                                                              RENTERIA
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12                                                    ORDER

13          The Court, having considered the parties’ stipulation, and good cause appearing therefor,

14 VACATES the briefing schedule for the defendant’s motion to withdraw his guilty plea. The Court

15 adopts the briefing schedule set forth in the parties’ stipulation.

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17 Dated: 5/1/2017
                                                       /s/ John A. Mendez
18                                                     JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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       STIPULATION AND [PROPOSED] ORDER TO MODIFY         2
       BRIEFING SCHEDULE
